         Case 2:16-cv-01651-RDP Document 28 Filed 02/06/18 Page 1 of 1                               FILED
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                                                                                            U.S. DISTRICT COURT
                                                                                                N.D. OF ALABAMA


                         UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ALABAMA
                              SOUTHERN DIVISION


CLEOPHAS JONES,                                 }
                                                }
       Plaintiff,                               }
                                                }
v.                                              }    Case No.: 2:16-cv-01651-RDP
                                                }
CONVERGENCE RECEIVABLES LC,                     }
                                                }
       Defendant.                               }


                                  ORDER OF DISMISSAL

       In accordance with the parties’ Joint Stipulation of Dismissal with Prejudice (Doc. # 27),

filed February 6, 2018, the court hereby ORDERS that this action shall be, and is, DISMISSED

WITH PREJUDICE. The parties are to bear their own costs, expenses, and attorney’s fees.

       DONE and ORDERED this February 6, 2018.



                                            _________________________________
                                            R. DAVID PROCTOR
                                            UNITED STATES DISTRICT JUDGE
